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                IN THE UNITED STATED DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION




FACULTY, ALUMNI, AND STUDENTS
OPPOSED TO RACIAL PREFERENCES
(FASORP),
                   Plaintiff,
     v.

NORTHWESTERN UNIVERSITY; HARI
OSOFSKY, in her official capacity as dean of          Case No. 24-cv-5558
Northwestern University School of Law; SARAH
LAWSKY, JANICE NADLER, and DANIEL                     District Judge Sara Ellis
RODRIGUEZ, in their official capacities as
Professors of law at Northwestern University;
DHEVEN UNNI, in his official capacity as editor
in chief of the Northwestern Law Review;
JAZMYNE DENMAN, in her official capacity as
senior equity and inclusion editor of the
Northwestern Law Review,

                          Defendants.


  NOTICE OF CONSENT MOTION FOR LEAVE TO FILE AMICUS BRIEF

      PLEASE TAKE NOTICE that, on Tuesday November 26, 2024 at 9:45 a.m.

proposed amici curiae Myriam Gilles and Paul Gowder will appear by the

undersigned counsel, via the Court’s remote conferencing facilities, and move this

Court for leave to file the brief that is docketed in this matter as ECF Doc. No. 34-1

and entitled Brief of Amici Curiae Myriam Gilles and Paul Gowder in Support of

Defendants. Counsel for both plaintiff FASORP and the Northwestern defendants

have given their assent to the filing of the proposed amicus brief.
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Dated: November 19, 2024
                                           Respectfully submitted,


                                           By: /s/ Matthew S. Wild__________
                                           Matthew S. Wild
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                                CERTIFICATION
I hereby certify that on November 19, 2024 a true copy of the foregoing Notice of
Motion was delivered electronically using the CM/ECF system to all counsel of
record.



                                      /s/ Matthew S. Wild
                                      Matthew S. Wild (Bar No. 2705457)




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